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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              ) Case No.: 2:06-cr-00071-MHT-SMD
                                                )
BERNETTA WILLIS                                 )

                               RESPONSE TO COURT ORDER

       Ms. Bernetta Willis, by counsel, makes the following response to the Court’s Order of

January 10, 2022 (Doc. 464).

       Ms. Willis has not yet received a booster shot of the COVID-19 vaccine. Her second

shot took place this past autumn and she will not be eligible to receive the booster for

approximately one more month.

       Ms. Willis does plan to present expert testimony in support of her renewed motion but

has not yet identified the applicable expert.

                                                Respectfully submitted,

                                                /s/Christine A. Freeman
                                                CHRISTINE A. FREEMAN
                                                TN BAR NO.: 11892
                                                Federal Defenders
                                                Middle District of Alabama
                                                817 South Court Street
                                                Montgomery, AL 36104
                                                TEL: (334) 834-2099
                                                FAX: (334) 834-0353
                                                E-Mail: Christine_Freeman@fd.org




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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 21, 2022, I filed the foregoing with the Clerk of Court

and copies have been served upon all counsel of record.

                                             Respectfully submitted,


                                             Respectfully submitted,

                                             /s/Christine A. Freeman
                                             CHRISTINE A. FREEMAN
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                                             Federal Defenders
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